
OPINION OF THE COURT
PER CURIAM.
Defendant King was arrested and charged with Driving While Impaired by alcohol and no valid driver’s license. Neither defendant nor her attorney appeared for the scheduled arraignment. Trial was nevertheless set but continued twice at the request of the defendant. *174Defendant thereafter moved for discharge alleging violation of the Speédy Trial Rule. This appeal is from the order discharging the defendant.
It is a well established rule that when a defendant, or her attorney, is not available for trial for whatever reason, no order for discharge can issue. Rule 3.191(e), R.Cr.P.
Further, as clearly stated by the Supreme Court of Florida, any continuance granted at the request of the defense constitutes a waiver of the right to a speedy trial under the rule. Butterworth v. Fluellen, 389 So.2d 968 (Fla. 1980).
Reversed and remanded for further proceedings.
